Ao 106 (Rev. 04/10) Appiication for a search Warranc

UNITED STA_TES DISTRICT COURT

for the
Eastem District of Wisconsin

In the Matter of the Search of:

DROPBOX ACCOUNTS ASSOCIATED WITH
THE EMAIL ACCOUNT ALSHANTY@ME.COM
STORED AT A PREMISES CONTROLLED BY
DROPBOX k

 

CaseNo. I§W m" @lgi

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APPLICATION FoR A sEARCH wARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under penalty of
perjury that l have reason to believe that on the following person or property:

See Attachment A

located in the Eastem District of Wisconsin, there is now concealed:

l See Attachrnent B

The basis for the search under Fed. R. Crirn P 4l(c) ls:
[Xl evidence of a crime;
|X] contraband, fruits of crime, or other items illegally possessed;
l property designed for use intended for use, or used 1n committing a crime;
|:I a person to be arrested or a person Who 1s unlawfully restrained

The search is related to Violations of: 18 U.S.C. §§ 1028, lOZSA, 1030, and 1343

The application is based on these facts; See attached affidavit

l:| Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U. S. C § 3103a, the basis of which is set forth on the attached sheet

 

Applicant s signature

 

[RS- CI Special Agent Daniel Schmeichel ‘
, » ll rinted Name and Title '

    

Sworn to before me and signed 1n my presence:

Date: E(Q,}" §§ m i@>

 

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City and State: Milwaul<ee Wisconsin il _ § David E. lones,U.S. agistrate Judge
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AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

§ 1, Daniel S. Schmeichel, being first duly sworn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND .
1. 1 make this affidavit in support of an application for a search warrant under 18

§ U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(0)(1)(A) to require Dropbox to disclose to the
government copies of the information, including the content of communications associated with
email address alshanty@me.com. The account is further described in Attachment A. The
information to be disclosed by Dropbox is described in Section 1 of Attachment B. Upon receipt
of the information described in Section 1 of Attachment B, government-authorized persons will
review that information to locate the items described in Section 11 of Attachment B.

2. 1 am a Special Agent with Internal Revenue Service, Criminal Investigation (“IRS-
CI”) and have been since February 201(). As an 1RS-C1 Special Agent, my duties include the
investigation of criminal violations of Title 26 (the 1ntemal Revenue Code), Title 31 (the Bank
Secrecy Act), and Title 18 of the United States Code. 1 am currently a member of the Federal
Bureau of Investigation Cybercrime Task Force, where 1 work with FBI agents and task force
officers of the F B1 on cases involving unauthorized computer intrusions and the theft of personal
identifying information, among other federal offenses. Prior to my employment with IRS-CI, 1
worked a total of approximately five years as a business systems analyst, network manager, and
as a computer and network specialist

3. 4 The statements in this affidavit are based on my personal knowledge, information
1 have received from other law enforcement personnel, publically available information, and from

persons with knowledge of relevant facts. Because this affidavit is being submitted for the limited

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purpose of securing a search warrant, 1 have not included every fact known to me concerning this
investigation

4. Based on the facts as set forth in this'affidavit, 1 respectfully submit that there is
probable cause to believe that the information associated with the accounts identified in
Attachment A containing fruits, evidence, and instrumentalities related to violations of Title 18,
United States Code, Sections 1030(a)(2)(C) and (a)(5)(A), 1343, 1028, and 1028A (the “Subject
Offenses”), as described in Attachment B.

BACKGROUND OF THE INVESTIGATION

5`.~ Since March 2017, the FBI and IRS-CI have'been investigating an individual using
the online alias “AnonyT.” As described in more detail below, AnonyT sold stolen personal
identifying information, including names and social security numbers (“PII”) through an intemet
marketplace During the course of the government’s investigation of AnonyT, the F B1 and IRS~
C1 identified several accounts used to facilitate the commission of the Subject Offenses. As
described below, probable cause exists to believe then Dropbox account associated with the email
address identified in Attachment A was used to facilitate the commission of the Subj ect Offenses.

'6. Based on my training and experience, information from other.experienced agents,
and the information described below, 1 believe information, including the contents of
communications associated with the account identified in Attachment A will contain fruits,
evidence, and instrumentalities related to the Subj ect Offenses`, namely the identity, location, and

scope of the criminal activity of individuals associated with the alias “Anony .”

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FACTS IN SUPPORT OF PROBABLE CAUSE1

7. On or about March 1, 2017, agents from 1RS-C1 learned of an advertisement on
AlphaBayZ, an illicit intemet marketplace, offering to sell tax-related data obtained from Company
A.3 An unidentified individual, using the online moniker “AnonyT,” was listed as the contact on
the advertisement

8. On or about March 2, 2017, AnonyT had an instant messaging conversation with
an individual, who unbeknownst to AnonyT was a confidential source of information working for
the FB1 (“CS~l”)4. During the instant messaging conversation, AnonyT agreed to sell the tax-
related data to CS-l in exchange for $2,000 in bitcoin. A short time later, as directed by AnonyT,
a FBI agent transferred 1.68542152 bitcoin (valued at the time at approximately $2,000) to the
`_ bitcoin address 14KeaGNUV86Cva27GancuS6gsLKgCgZP. After the bitcoin transfer,
AnonyT sent a usemame and password for a Dropbox5 account to CS-l. The Dropbox usemame

was email address sta.lampert@gmail.com. An' agent successfully used the usemame and

 

1 At various points in this affidavit, 1 will offer my interpretation of certain conversations and the meaning to
certain terms in brackets. My interpretation of these conversations is based on my knowledge of the investigation to
date, conversations with other law enforcement officers and agents, and my experience and familiarity with these
types of investigations The summaries of conversations do not include all potentially criminal conversations during
this investigation, or all statements or topics covered during the course of the conversation The quoted conversations
in this affidavit do not represent finalized transcripts and may not represent the entire conversation that occurred
between the identified individuals

2 According to information that was publically available on AlphaBay, AnonyT became active on AlphaBay
on or about September S, 2015. According to information obtained from a private cyber security firm, between
September 15, 2015 and May 2017, AnonyT was responsible for approximately 674 posts on AlphaBay that mostly
related to the sale of P11.

3 The advertisement also offered remote desktop access to Company A’s computer network y Remote desktop
access was likely a reference unauthorized access to Company A’s computer network through an attack vector that
utilized Remote Desktop Protocol. v

4 CS-l has been cooperating with U.S. law enforcement since 2014. CS-1 has no prior criminal convictions
CS- 1 is cooperating with the hope of avoiding prosecution for computer related offense or a reduced charge. CS- 1
has provided law enforcement with timely and reliable information that has been corroborated through subsequent
recorded conversation and controlled buys.

5 As described in more detail below, Dropbox is a remote computing service that offers a file-sharing platform

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password obtained from AnonyT to access the Dropbox account and download approximately 55
GB of tax~related data that contained PII.

9. On March 3, 2017, agents confirmed with the owners of Company A that the data
contained in the Dropbox account had been exfiltrated from Company A without authorization
The data included completed 1RS tax forms ‘1040, W-Z, and 1099 for Company A’s clients.

10. 7 On or about May 5, 2017, the U.S. Magistrate Judge William E. Duffin issued an
order pursuant to 18 U.S.C.' § 2703(d) requiring Google to disclose to the United States subscriber

information for all accounts linked by intemet browser cookie to Gmail account

sta.lampert@gr_nail.com.

11. On May 30, 2017, Google provided records for approximately 150 email accounts 1 l

that “accessed a machine using the same authentication cookie(s) as sta.lampert@gr_nail.com . . .
.” Based on my training and experience, and information obtained from.other experienced agents,
1 understand this to mean that all the email accounts identified by Google were accessed using the
same computer 1dentif1ed in those records were email accounts: hmooood89@gmail.com and
abd.alshanti@gr_nail.com.

12. `According to the records obtained from Google, hmooood89 ail.com is
subscribed to the name Ahmed Alshanti and it was created on July 7, 2006.

13.- According to Google records, abd.alshanti@gmail.com is subscribed to the name
Abd Alshanti. Google records listed info{'@unknown.ps as the recovery email address6 for
abd.alshanti@gmail.com.

14. According to Google records info@unknown.ps is subscribed to the name

Abdulrhman Alshanti.v According to Google records, info@unknown.ps is the recovery email

 

The recovery email account is used to recover forgotten passwords.

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address for and at least three of the other email accounts linked to the sta.lampert@gmail.com by
intemet browser cookie. According to Google records, info@unknown.`ps was created on March-
14, 2010. l

15. 1 reviewed the publicly available information on the intemet website unknown.ps,
which is the domain7 for info@unknown.ps. Based on my review of the information on that 1
website, it appears to be a website for Abd Alshanti, which is the subscriber name on
abd.alshanti@ gr_nail.com. On the website, an individual believed to be Abd Alshanti describes
himself as a “Self-Taught `Web Developer and SEO Expert based in Palestine, Gaza Strip.” The
website is linked to publically accessible Facebook and Twitter accounts for Abd Alshanti and a
publically available Instagram account in the name “Bu Ziad.” The profile photos displayed on
those Facebook, Twitter, and Instagram accounts appeared to be of the same person and all
accounts identify the user as being located in Gaza, Palestine. .

16. ` 1 reviewed the publically available tweets associated with Abd Alshanti’s Twitter
` page for usemame @abdalshanti. On April 29, 2017, the user of that account sent a tweet to an
online bitcoin wallet provider claiming an unauthorized bitcoin payment was made from the
bitcoin addresses held in his bitcoin wallet. 1n the tweet, the user of that account posted a
screenshot of an email messagethat appears to be sent from hmooood89@gmail.com to a bitcoin
wallet provider complaining of an unauthorized bitcoin transaction The user 'of that account also
tweeted screenshots of the completed transaction, showing the bitcoin addresses in his bitcoin

wallet that funded the complained of transaction One of those bitcoin addresses,

 

7 A domain name is also the name that identifies a website on the intemet. For example, “microso&.com” is
the domain name of Microsoft’s website. Like an 1P address, a domain name consists of a sequence of characters,
separated by periods. Domain names are organized hierarchically and they are read from right to left. The right-most
component is the “top level domain.” This includes the “.com,” “..gov,”_and “.edu” domains, as well as many others.
The second part of the domain name is owned by the registrant who first registered the name.

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14KeaGNUV86Cva27GancuSogsLKgCgZP, was the same bitcoin address used by AnonyT

8

in the transaction with the FBI, described in paragraph 8 above . A copy that tweet is shown

be1ow:

Abd A|Shanti TWeete Fot!owing Fclinwars fixes
@abdalsnanz; 4 75 42 3,9§3 345

. Hmooood89
.?"a§::;' gift 111,-§;¥:111* 1

i have this payment sent from
m\/ arr*mmt'?? '
1 C?

  

 

_ Ai:d Alshanti @ancatahaati ~ A_pr 29
,t, @AskBicckchain There ts a transaction appeared on my wallet i never sent tt
Gccgle Auth enabled there is ne way ever l‘m backed just how?

 

oncf~ J.‘\W‘\’¢'AL "?` 11118 PM

 

     

       

  

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g As described below, a search warrant was executed on the account hmooood89@gmail.com. During my
review of the information associated with that account, 1 located an email sent to hmooood89@gmail.com on March
2, 2017 from Blockchain.info. The email contained a notice to the account holder that that the bitcoin address
14KeaGNUV86Cva27GancuS6gsLKgCgZP, which was held in his bitcoin wallet, received 1.68542152 bitcoin.
This notification was for the transaction in which the FBI purchased the stolen data from AnonyT as described in
paragraph 8. `

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17. On or about June 22, 2017, a grand jury subpoena was issued to Twitter for records

related to info@unknown.p` s and Twitter usemame @abdalshanti On or about August 25, 2017,
l Twitter produced records responsive to the subpoena. According to records obtained from Twitter,
usemame @abdalshanti is registered to info@unknown.ps.

18. On or about September 27, 2017, U.S. Magistrate Judge David E. Jones issued
search warrants requiring Google to provide information including email communications, for the
email accounts hmooood89@gr_nail.com and info@unknown.ps. Google provided the required
information for hmooood89@gmail.com on October 2, 2017. Google provided the required
information for info@unkown.ps on October 20, 2017. 2

_ y 19. 1 reviewed the email communications disclosed by Google for email accounts
hmooood89@g1_n_ail.com and info@unknown.ps. Based on my training and experience and my
knowledge of this investigation, 1 located several communications associated with those accounts
that related to violations of the Subject Offenses. Some of those communications were received
from or sent to Microsof`t email account d3mha@live.com. For example, the following
communications involved the user of account d3mha@live.com: l

a. On or about May 24, 2013, the user of account info@unknown.ps and the
user of account d3mha@live.com exchanged a number of emails that contained credit card
numbers and P11. ~More specifically, the user of account d3mha@live.com sent an email to the
user of account info@unknown_.ps that contained a credit card number and P11 and wrote, “check
if it [the credit card number] works.” 111 response, the user of info@unknownps asked where
d3mha obtained the credit card and P11 information The user of d3mha@live.com sent a reply

email that stated, “http://www.mvmobilenation.com [the website that d3mha had breached] .” The

user of account info@unknown.p_s sent an email in response that stated, “you fucking genius 1

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knew you could do it motherfucker get all the CCs [info@unknown.ps was impressed that d3mha
had hacked the website and he wanted d3mha to steal all the available credit card information] .”

b. On or about August `20, 2013, the user of n account mfo@unknown.pssent
an email with the subject line “Remote Desktop” to the user of account d3mha@live.com. The
body of the email listed 1P address 113.212.70.231, and what appeared to be the usemame and
password to establish an RDP9 connection to the 1P address. According to information available
from Centralops.net,10 IP address 113.212.70.231 is owned by APNIC-AP located in Australia.

c. On or about November 1,1, 20`15, the user of account info@unknown.ps sent
an email with the subject “new landl” to the user of account d3rnha@live.com. The body of the
email listed 1P'address 74.208.69.227 and what appeared to be the usemame and password to that
1P address. According to information available from Centralops.net, 1P address 74.208.69.227 is
owned by 1 & 1 1ntemet 1nc. located in Pennsylvania.

d. On or about‘February 24, 2016, the user of account info@unknown.ps sent
an email with the subject “new srv [server]” to the user of account d3mha@live.com. The body
of the email listed 1P address 198.251.79.203 and hat appeared to be the password to that 1P
address. According to information available from Centralops.net, IP address 198.251.79.203 is

owned by 1 & 1 1ntemet1nc. located in Pennsylvania.

e. On December 11, 2016, the user of accountinfo@unknown.ps sent an email

with the subject “DO THIS ONCE YOU OPEN LAP! !” to the users of accounts d3mha@live.com

 

9 In this case, Ibelieve the IP address 113.212.70.231 represented a compromised server on which RDP access
had been established without authority. Unless otherwise noted,` 1 believe the communication described in this
affidavit that involved RDP access to an IP address related to a computer that was accessed without authorization

10 Centralops.net is publicly available website that lists contact and registry information for domain names and
IP addresses. '

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and hmooood89@gmail.com. The body of the email what appeared to be the usemame and
password for a merchant account on Etsy.com.11 The email stated, “he [the merchant] have a good
(sic) ETSY shop receiving (sic) many paymentsdaily. .. update the bank account on profile to the
new one you created and added to paypal [the merchant’s bank account information should be
replaced with a different account from PayPal] !! A deposit of $1,537.11 is scheduled for Mon,
Dec 12, 201,6, act fast!! be sure to check email after!! its good money if he never notice for a month
,[the owner might not notice the bank account information was changed] . . . log to his [the
merchant’s] email first to avoid him [the merchant] seeing any changes you’ll make.” A short
time later, the user of account d3mha@live.com replied, “did this [D3mha changed the bank
account information for the Etsy account].” According to information obtained from
Centralops.net,‘ IP address 98.189.245.28 is owned by Cox Communications.

f. On or about July '11, 2017, the user of info@unlmownps sent an email
message to the users of accounts hmooood89@gmail.com and d3mha@live.com. The body of the
email stated, “reg [register] now on dream market [a darknet market place for illicit goods and j
services], everyl [everyone] moving (sic) there [dream market], it may get us [the coconspirators]
better sales than hansa 1a darknet marketplace for illicit goods and services that was closed by
Dutch authorities on July 6, 2017].” l

20. 1 also located emails that identified a Dropbox account the targets of this
investigation used to facilitate the commission of the Subj ect Offenses. For example, on or about
. February 24, 2015,'the user of email account info@unlmown.ps received an email from Dropbox.

The subject of the email stated, “Ahmed Alshanti wants to share ‘work’ with you.” The body of

 

11 Etsy.com is an online marketplace for various commercial goods and services.

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the email stated, “Ahmed (d3m11a@live.com) wants to share some files in a folder called ‘work’
with you via Dropbox.” §

21. Between on or about November 16, 2016, and September 26, 2017, the user of
account info@unknown.ps received approximately 44 email notifications addressed to
alshantyg’g:v)¢me.com12 from Dropbox with the subject, “Ahmed made changes in your`shared
folders.” The notification emails from Dropbox to alshantg@me.com stated, “HERE’S WHAT
HAPPENED 1N YOUR SHARED FOLDERS LAST WEEK.” The emails included details about

the shared files and folders that had been updated. For example:

it lf there are problems with how this message is displayed, dick here to view it in a web browser. _
me.: tit Dropbox <no-reply@drcpbcxmai.cnm> ~ ` Sent: Tue 11/22,'2016 1107 AM

To: 311 alshanty@.'me.mm ~
Cc
Subject: Ahmed made changes in your shared folders

 

HERE‘S WHAT HAPF‘ENED 11\1 `1’01_11? SHARED FC.TLDERS L£\ST WEEK

shared

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li"'»:l feared bya.hmed y

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readittxt
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12 Based on my training and experience, 1 believe these emails were originally sent to the account
alshanty@ me.com, and a forwarding feature on that account caused them to be sent the account info@unknown.ps.

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From: 1
Ta:

Cc:
Subject:

111 Drapbox <no-reply@dropboxmei|.com:> Sent: .Mcn 12,'12/2016 5:14 AM

lalshanty@me.com

Ahmed made changes in your shared folders

 

 

 

 

me,:
To:

Cc

_ Subject

 

HERE'S 1~'"‘.\’1~1.&1 HAPF’ENED 1111 "s~“'SUR SHARED FDLDERES LAST WEEK

shared

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Adcted by Ahr'neti ~ " ' '

§§mteylor.xru§
tended b§r,»§thmeu , ~ 1' '

1111

 

 

1.'.\Drcpbox <no~reply@drcpbcxrnai\.com> Sent: Sat 05.{27!2017 4:25 FM

i, `i`alshanty@me.com

v Ahmed made changes in your shared folders

 

 

 

 

 

 

HERE'S WH,£=.T HAPPEI'*»$ED lN `:"OUR EHARED FOLDERS U¥ST WEEK

shared

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Eo‘ited byrAhmed ,r ~ »: , ~`

sqi to do §aterttxt
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rep listt><t
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1111

 

Document 1

 

Frorn:
To:

Cc:
Subject

 

iii Dropbox <no~reply@dropboxmail.com:»` Senb Tue 03!21!2017 6:57 PM

tit alshantv@me.com

Ahmed made changes in your shared folders

 

 

Frcm:
To:

Cc '
Subject

 

 

 

HEF¢E‘S WHAT HAF‘PENED 11‘\)`1"OL!1;1 SHAF;ED FSLDERS LAST WEEK

shared

march-ceatxt
Editer! by Ahmer;i - 1 1 '

rdp-resutt {3}.1)<€.
;Edi~ted by Atimed

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ended 1131 Ahrner:i

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rr

113 Dropbox <no-rep!v@dropboxma`rl.i:om:> Sent: Thu 07!20!201? 9»:16 A|'»rt`

111 elshanty@me.corn

z Ahmed made changes in your shared folders

 

jet

 

 

 

 

HERE’S 11"11‘Hr"3,1' HAPPENED 1111 "fC'UR SH.»"HRED F*:!LDERS L»"§.ST WEEK

shared

duty~ecs.txt
r'>rr:ldedhy'£>rhmed 111 w i

bartee .txt
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Etlitetl by Ahmed ` ,_

EHRAM embershipRerreWa§ j _ng~)(
ended byr‘l\hmed , 1

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Document 1

 

22. Based on my training and experience, my knowledge of this investigation, and the .
information stated above, l believe the Dropbox account(s) associated with alshanty@me.com
contains files and information concerning the Subject Offenses. For example, l believe the file
“July-ccs.tx ” included in the DropboX notice on July 20, 2017, contains credit card numbers that
were saved in a text file. As shown above, other text files suggest the files relate to the Hansa
marketplace and RDP access.

23. l On or about October 23, 2017, I served a preservation request under 18 U.S.C. §
2703(f) on DropboX requesting the preservation of all records for accounts related to
alshanty@me.com.

24. On November 13, 2017, this U.S.,Magistrate Judge William E. Duffin issued a
warrant authorizing the search and seizure of information associated with Dropbox accounts
associated with email account alshanty@me.com. n

'25. On or about December 6, 2017, DropboX disclosed the responsive materials to me.
Based on my knowledge of the investigation, and my review of the information disclosed by
Dropbox, l believe the files disclosed by Dropbox contained stolen PII, malware and other
information used to compromise computer systems and steal Pll, and other information related to
the Subject Offenses.

26. On or about January 30, 2018, a representative from Dropbox informed me that
DropboX had additionallrecords and information associated with the shared accounts describe
above and disclosed in response the warrant issued by Magistrate Judge Duffin.

27. .According to the DropboX representative, Dropbox has a complete file activity log
for shared folders associated with the alshantg@me.com accounts The file activity log will show

when the content of the shared folders was added, edited, moved, or renamed. In other words, the

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file activity log will show the complete history of a file in the account Additionally, according
to the Dropbox representative, each time a file is shared with another user, that user must create a
Dropbox account to access the shared folder. According to the DropboX representative, DropboX
has the email addresses associated with the users accessing folders shared from the
valshant§g@¢me.com account.
BACKGROUND CONCERNING DROPBOX

28. DropboX is a service that allows its users to store files on DropboX’s servers.

Dropbox offers both free and fee based services According to DropboX’s privacy policy, available

at https://www.dropboX.com/privacv, Dropbox allows its customers to “collaborate with others”

 

and to store “files, messages, comments, and photos . . . as well as information related to it.” To
establish an account, DropboX collects the customer’s name, email address, phone number,
payment information, and physical address.

29. DropboX states that it collects information related to how its customers uses its
services, “including actions [the customer] take[s] in [the] account (like sharing, editing, viewing,
' and moving file folders).”

30. l)ropbox also collects information “from and about the devices you use to access
[DropboX] services . . . includ[ing] things like IP addresses, the type of browser and device you
use, the Web page you visited before coming to [the DropboX] sites, and identifiers associated with
[the] devices.” Dropbox states that depending on the devices settings, it might also collect location
information for the'device used to access their services

3 l. ln some cases, DropboX users will communicate directly with DropboX about issues

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relating to their account, such as technical problems, billing inquiries or complaints
INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED
32. I anticipate executing this warrant under the Electronic Communications Privacy 1
Act, .in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A), and 2703(0)(1)(A), by using the warrant
to require `Dropbox to disclose to the government copies of the records and other information
(including the content of communications) described in Section I of Attachment B. Upon receipt
of the information described in Section l of Attachment B, _government~authorized persons Will
review that information to locate the items described in Section ll of Attachment B.

CONCLUSION

33. Based on the information described above, l request that the Court issue the
proposed search warrant
34. This Court has jurisdiction to issue the requested warrant because it is “a court of

competent jurisdiction” as defined by 18 U.S.C. §_2711. 18 U.S.C. §§ 2703(a), (b)(l)(A) & `
(c)(l)(A). Specifically, the Court is “a district court of the United States . . . that ~ has jurisdiction

' over the offense being investigated.’1 18 U.S.C. § 2711(3)(A)(i).
35. Pursuant to 18 U.S.C. § 82703(g), the presence of a law enforcement officer is not

required for the service or_execution of this warrant.

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ATTACHMENT A
Property to Be Searched
This warrant l applies to information associated with the account(s) related to
alshanty@me.com (tlie “account”) that is stored at premises owned, maintained, controlled, or
operated by Dropbox Inc., a company headquartered at 333 Brannan Street, San Francisco,

California 94107 (the “Provider”).

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ATTACHMENT B
Particular Things to be Disclosed and Seized
I. ' lnformation to be disclosed by Dropbox (the “Provider”)

To the extent that the information described in Attachment A is within the possession,
custody, or control of the Provi`der, regardless of whether such informationis stored, held or
maintained inside or outside of the United States, and including any emails, records, files, logs, or
information that has been deleted but is still available to the Provider, or has been preserved
pursuant to a request made under 18 U.S.C. § 2703(f) on October 23~, 2017, the P'rovider is required

to disclose the following information to the government for the account or _identifier listed in

Attachment A:
a. A complete file activity log for shared folders associated with the account; and
b. ' ' lnformation related to the shared folders associated with the account, including

Dropbox account information for users accessing those shared folders

The Provider is hereby.ordered to disclose the above information to the government within
14 days of the issuance of the warrant.
II. Information to be seized by the government

All information described above in Section l that constitutes fruits, evidence, and
instrumentalities related to violations of Title ~18, United States Code, Sections 1030(a)(2)(C) and
(a)(§)(A), 1343, 1028, and 1028A, since November~2016, including information pertaining to the
following matters: l b l

a. The identity of the person(s) who communicated with the user of the account and

accessed records and shared folders associated with the account;

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b. File activity for shared folders associated with that account that contain financial
information, credit card numbers, social security numbers and other personal identifiable
information; and t l

c. lnformation related to the sale and distribution of financial information, credit

card numbers, social security~numbers, and other personal identifiable information

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CERTIFICATE OF AUTHENTICITY OF DOMESTIC
BUSINESS RECORDS PURSUANT TO FEDERAL RULE
OF EVIDENCE 902(11)

l, ' , attest, under penalties of perjury under the

 

laws of the United States of America pursuant to 28 U.S.C. § 1746, that the information
contained in this declaration is true and correct. l am employed by Dropbox lnc., and my official

title is ' . l am a custodian of records for Dropbox lnc. I state

 

that each of the records attached hereto is the original record or a true duplicate of the original
record in the custody of Dropbox Inc., and that l am the custodian of the attached records
consistingof (pages/CDs/kilobytes). l further state that:

a. all records attached to this certificate were made at or near the time of the
occurrence of the matter set forth, by, or from information transmitted by, a person with
knowledge of those lmatters;

b. such records Were kept in the ordinary course of a regularly conducted business
activity of Dropbox lnc.; and

c. ' such records were made by Dropbox Inc. as a regular practice

l further state that this certification is intended to satisfy Rule 902(11) of the Federal

Rules of Evidence.

 

 

Date Signature

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